
Rollins, S.
The testatrix was, at the time of her death, a resident of the city of New York. Among the provisions of her will are -a devise to Louis L. Lorillard of certain real estate in thé city of Newport, in the state of Rhode Island, and bequests to the same legatee of certain personal property, including a legacy of $250,000 in money. A question has arisen as to whether the passing of this property, by virtue of the decedent’s will, is taxable under our so-called Collateral Inheritance law (chap. 483, Laws 1885). I find no reason for doubting that the aforesaid legacies of personalty are hable to the tax in question, and that the devise of realty is not.
The provisions of the statute under consideration are, in substance, the same as those of the Collateral Inheritance law of Pennsylvania. Upon grounds which seem to me to be well founded, the courts of that state have frequently upheld the contention made in behalf of this devisee. Hood’s Estate, 21 Penn. St., 106; Commonwealth v. Coleman, 52 id., 468; Drayton’s Appeal, 61 id., 172. Miller v. Commonwealth, 111 id., 321.
